               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:15 CR 71-1


UNITED STATES OF AMERICA,                     )
                                              )
Vs.                                           )            ORDER
                                              )
DANIEL ALFARO,                                )
                                              )
                 Defendant.                   )
____________________________________          )


      THIS CAUSE coming on to be heard before the undersigned pursuant to a

Violation Report (#131) filed by the United States Probation Office alleging that

Defendant had violated terms and conditions of his pretrial release. This matter was

brought before the Court for hearing on December 31, 2015 and prior to addressing

the Violation Report Defendant entered a plea of guilty to the crime of conspiracy

to possess with intent to distribute methamphetamine. After the plea was entered,

the undersigned applied the provisions of 18 U.S.C. § 3142(a)(2) which required that

this Court revoke the terms and conditions of pretrial release in this matter. At that

time, AUSA John Pritchard made an oral motion to dismiss the Violation

Report(#131) as it was now moot. The Defendant did not have any objection and

the motion was allowed.




                                          1



  Case 1:15-cr-00071-MOC-WCM         Document 173     Filed 01/04/16   Page 1 of 2
                               ORDER

     IT IS, THEREFORE, ORDERED that the Violation Report (#131) is

hereby DISMISSED as being MOOT.




                                       Signed: January 4, 2016




                                   2



  Case 1:15-cr-00071-MOC-WCM   Document 173        Filed 01/04/16   Page 2 of 2
